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UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL eng ( IA 56 S
1BCRU0S69 RAK
UNITED STATES OF AMERICA, No. C - —

Plaintitt, PLEA AGREEMENT FOR DEFENDANT
THOMAS M. SHEPOS

Vv.
THOMAS M. SHEPOS,

Defendant.

 

1. This constitutes the plea agreement between THOMAS M.
SHEPOS (“defendant”) and the United States Attorney’s Office for the
Central District of California (the “USAO”) in the investigation of
the above-described matter. This agreement is limited to the USAO
and cannot bind any other federal, state, local, or foreign
prosecuting, enforcement, administrative, or regulatory authorities.

DEFENDANT’ S OBLIGATIONS

2. Defendant agrees to:

a. Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by the

Court, appear and plead guilty to a two-count information in the form

 

 

 
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attached to this agreement as Exhibit A or a substantially similar
form, which charges defendant with False Statement to Government
Agent in violation of 18 U.S.C. § 1001(a) (2) and Subscribing to False
Tax Return in violation of 26 U.S.C. § 7206(1).

bs Not contest facts agreed to in this agreement.

Ce Abide by all agreements regarding sentencing contained
in this agreement.

id. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

e. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
within the scope of this agreement.

fs Be truthful at all times with Prétrial Services, the
United States Probation Office, and the Court.

g. Pay the applicable special assessments at or before
the time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a form
to be provided by the USAO.

h. Not seek the discharge of any restitution obligation,
in whole or in part, in any present or future bankruptcy proceeding.

PAYMENT OF TAXES OWED
Se Defendant admits that defendant received unreported income
of $434,400 for 2010 to 2016, which consists of the Following amounts
for the following years: $25,000 (2010); $12,000 (2011); $12,000
(2012); $52,000 (2013); $139,400 (2014); and $102,000 (2015); and
$92,000 (2016). Defendant agrees to cooperate with the Internal

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Revenue Service in the determination of defendant’s tax liability for
2010 to 2016. Defendant agrees that:

a. Defendant will file, prior to the time of sentencing,
amended returns for the year subject to the above admissions,
correctly reporting unreported income; will, if requested to do so by
the Internal Revenue Service, provide the Internal Revenue Service
with information regarding the years covered by the returns; will pay
at or before sentencing all additional taxes and all penalties and
interest assessed by the Internal Revenue Service on the basis of the
returns; and will promptly pay all additional taxes and all penalties
and interest thereafter determined by the Internal Revenue Service to
be owing as a result of any computational error(s).

b. Nothing in this agreement forecloses or limits the
ability of the Internal Revenue Service to examine and make
adjustments to defendant’s returns after they are filed.

ce. Defendant will not, after filing the returns, file any
claim for refund of taxes, penalties, or interest for amounts
attributable to the returns filed in connection with this plea
agreement.

a. Defendant is liable for the fraud penalty imposed by
the Internal Revenue Code, 26 U.S.C. § 6663, on the understatement of
tax liability for 2010-2016.

ee. Defendant gives up any and all objections that could
be asserted to the Examination Division of the Internal Revenue
Service receiving materials or information obtained during the
criminal investigation of this matter, including materials and

information obtained through grand jury subpoenas.

 

 

 
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£. Defendant will sign closing agreements with the
Internal Revenue Service contemporaneously with the signing of this
plea agreement, permitting the Internal Revenue Service to assess and
collect the total sum of $110,021 (consisting of the following
amounts for the following tax years: $3,941 (2010); $1,625 (2011);
$3,325 (2012); $14,216 (2013); $38,972 (2014); $26,019 (2015); and
$21,923 -(2016)), which comprises the tax liabilities, as well as
assess and collect the civil fraud penalty for each year and
statutory interest, on the tax liability as provided by law.

4, Defendant further agrees to cooperate fully with the USAO,
the Federal Bureau of Investigation, Internal Revenue Service, and,
as directed by the USAO, any other federal, state, local, or foreign
prosecuting, enforcement, administrative, or regulatory authority.
This cooperation requires defendant to:

a. Respond truthfully and completely to. all questions
that may be put to defendant, whether in interviews, before a grand
jury, or at any trial or other court proceeding.

bs Attend all meetings, grand jury sessions, trials or
other proceedings at which defendant’s presence is requested by the
USAO or compelled by subpoena or court order.

G Produce voluntarily all documents, records, or other
tangible evidence relating to matters about which the USAO, or its
designee, inquires.

Bis For purposes of this agreement: (1) “Cooperation
Information” shall mean any statements made, or documents, records,
tangible evidence, or other information provided, by defendant
pursuant to defendant's cooperation under this agreement or pursuant
to the letter agreement previously entered into by the parties dated

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December 16, 2016 (the “Letter Agreement”); and (2) “Plea
Information” shall mean any statements made by defendant, under oath,
at the guilty plea hearing and the agreed to factual basis statement

in this agreement.

THE USAO'S OBLIGATIONS

6. The USAO agrees to:
a. Not contest facts agreed to in this agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

eC: At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offenses up to
and including the time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3EB1.1, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

d. With respect to Counts One and Two, recommend that
defendant be sentenced to a term of imprisonment no higher than the
low end of the applicable Sentencing Guidelines range.

be The USAO further agrees:

a. Not to offer as evidence in its case-in-chief in the
above-captioned case or any other criminal prosecution that may be
brought against defendant by the USAO, or in connection with any
sentencing proceeding in any criminal case that may be brought
against defendant by the USAO, any Cooperation Information.

Defendant agrees, however, that the USAO may use both Cooperation
Information and Plea Information: (1) to obtain and pursue leads to
other evidence, which evidence may be used for any purpose, including
any criminal prosecution of defendant; (2) to cross-examine defendant

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should defendant testify, or to rebut any evidence offered, or
argument or representation made, by defendant, defendant’s counsel,
or a witness called by defendant in any trial, sentencing hearing, or
other court proceeding; and (3) in any criminal prosecution of |
defendant for false statement, obstruction of justice, or perjury.

b. Not to use Cooperation Information against defendant
at sentencing for the purpose of determining the applicable guideline
range, including the appropriateness of an upward departure, or the
sentence to be imposed, and to recommend to the Court that
Cooperation Information not be used in determining the applicable
guideline range or the sentence to be imposed. Defendant
understands, however, that Cooperation Information will be disclosed
to the probation office and the Court, and that the Court may use
Cooperation Information for the purposes set forth in U.S.S.G
§ 1B1.8(b) and for determining the sentence to be imposed.

or In connection with defendant’s sentencing, to bring to
the Court’s attention the nature and extent of defendant’s
cooperation.

d. If the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant’s obligations under
paragraphs 2 and 3 above and provided substantial assistance to law
enforcement in the prosecution or investigation of another
(“substantial assistance”), to move the Court pursuant to U.S.S.G. §
5K1.1 to fix an offense level and corresponding guideline range below
that otherwise dictated by the sentencing guidelines, and to
recommend a term of imprisonment within this reduced range.

DEFENDANT’ S UNDERSTANDINGS REGARDING COOPERATION
8. Defendant understands the following:

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a. Any knowingly false or misleading statement by
defendant will subject defendant to prosecution for false statement,
obstruction of justice, and perjury and will constitute a breach by
defendant of this agreement.

b. Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant may
offer, or to use it in any particular way.

G. Defendant cannot withdraw defendant’s guilty pleas if
the USAO does not make a motion pursuant to U.S.S.G. § 5Kl.1 fora
reduced guideline range or if the USAO makes such a motion and the
Court does not grant it or if the Court grants — a USAO motion but
elects to sentence above the reduced range.

d. At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has provided
substantial assistance will rest solely within the exclusive judgment
of the USAO.

e. The USAO’s determination whether defendant has
provided substantial assistance will not depend in any way on whether
the government prevails at any trial or court hearing in which
defendant testifies or in which the government otherwise presents
information resulting from defendant’s cooperation. That is, whether
any other co-conspirator is found guilty or not guilty will have no
impact on what benefit, if any, defendant receives from the USAO.

The USAO'’s determination will depend only on whether defendant

provides truthful testimony.

 

 
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NATURE OF THE OFFENSES

9. Defendant understands that for defendant to be guilty of
the crime charged in Count One, that is, False Statement to
Government Agent, in violation of Title 18, United States Code,
Section 1001(a) (2), the following must be true: (a) first, defendant
fies a false statement in a matter within the jurisdiction of the
Federal Bureau of Investigation (“FBI”); (b) second, defendant acted
willfully; that is, defendant acted deliberately and with knowledge
both that the statement was untrue and that his conduct was unlawful;
and (c) third, the statement was material to the activities or
decisions of the FBI; that is, it had a natural tendency to
influence, or was capable of influencing, the agency’s decisions or
activities.

10. Defendant understands that for defendant to be guilty of
the crime charged in Count Two, that is, Subscribing to False Tax
Return, in violation of Title 26, United States Code, Section
7206(1), the following must be true: .(1) defendant signed and filed a
tax return for the year 2014 that he knew contained false information
as to a material matter; (2) the return contained a written
declaration that it was being signed subject to the penalties of
perjury; and (3) in filing the false tax return, defendant acted
willfully. A matter is material if it had a natural tendency to
influence, or was capable of influencing, the decisions or activities
of the Internal Revenue Service. A defendant acts willfully when
defendant knows that federal tax law imposed a duty on defendant and

defendant intentionally and voluntarily violated that duty.

 

 

 
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PENALTIES AND RESTITUTION

11. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, United States
Code, Section 1001, is: 5 years imprisonment; a 3 year period of
supervised release; a fine of $250,000 or twice the gross gain or
gross loss resulting from the offense, whichever is greatest; and a
mandatory special assessment of $100.

12. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 26, United States
Code, Section 7206(1), is: 3 years imprisonment; a 1 year period of
supervised release; a fine of $250,000 or twice the gross gain or
gross loss resulting from thie offense, whichever is greatest; anda
mandatory special assessment of $100.

13. Defendant understands, therefore, that the total maximum
sentence for all offenses to which defendant is pleading guilty is:
8 years imprisonment; a 3 year period of supervised release; a fine
of $500,000; and a mandatory special assessment of $200.

14. Defendant understands and agrees that the Court: (a) may
order defendant to pay restitution in the form of any additional
taxes, interest, and penalties that defendant owes to the United
States based upon the count of conviction and any relevant conduct,
and; and (b) must order defendant to pay the costs of prosecution,
which may be in addition to the statutory maximum fine stated above.

15. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to sepre on a jury.
Defendant understands that once the court accepts defendant’s guilty

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pleas, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the convictions in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will nik serve as grounds to
withdraw defendant’s guilty pleas.

16. Defendant understands that, if defendant is not a United
States citizen, the felony convictions in this case may subject
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant’s attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony
convictions in this case. Defendant understands that unexpected
immigration consequences will not serve as grounds to withdraw
defendant’s guilty pleas.

17. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than

the statutory maximum stated above.

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FACTUAL BASIS

18. Defendant admits that defendant is, in fact, guilty of the
offenses to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support pleas of guilty
to the charges described in this agreement and to establish the
Sentencing Guidelines factors set forth in paragraph 20 below but is
not meant to be a complete recitation of all facts relevant to the

underlying criminal conduct or all facts known to either party that

relate to that conduct.

Background
From approximately 1998 to 2017, defendant was a public official

employed by the County of Los Angeles (“County”) in the Real Estate
Division. Defendant’s duties involved negotiating leases between
private building and property owners and various County departments.
Defendant was also able to request and receive proposals from private
real estate developers who wanted to lease their buildings to County
departments. Once a property was identified for a County department
in need of space, defendant was able to negotiate lease terms and
draft lease agreements for the County and private property owners, or
direct others to do so. Based on defendant’s level of seniority,
defendant had significant autonomy to contractually bind the County.
In particular, defendant had authority to negotiate contract terms on
behal£ of the county, although final contract approval lay with the
Board of Supervisors, and defendant had authority to approve, with
others, change orders on contracts. Furthermore, in defendant’s
capacity as a public official employed by the County, defendant owed
a fiduciary duty to the citizens of the County and to defendant’s

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employer to perform the duties and responsibilities of defendant’s
office free from bias, conflicts of interest, self-enrichment, self-
dealing, concealment, deceit, fraud, kickbacks, and bribery.

The United States government provides federal assistance to
various County departments, including the Department of Public Social
Services (“DPSS”), every year -- a portion of which is used to cover
some of the County departments’ lease expenses. The aggregate amount
of federal funding received by those County departments exceeds
$10,000 per year.

The Arman Gabaee Bribery Scheme

Arman Gabaee, also known as “Arman Gabay” (“Gabaee”), was a real
estate developer who conducted business with the County. He was the
co-managing partner and co-founder of the Charles Company, a real
estate development firm that developed and maintained commercial and
residential real estate projects. Gabaee was also a partner of the
California limited partnership M&A Gabaee, among other entities.

Sometime between 2000 and 2005, Gabaee began to seek improper
assistance from defendant in the course of conducting his (Gabaee’s)
real estate business with the County. During this time, Gabaee had a
lease pending approval before the County Board of Supervisors (the
“Board”). The lease called for DPSS to occupy a portion of the
Hawthorne Mall, which Gabaee owned. The Board ultimately voted to
approve the lease, but the approval came over a year arvex it was
initially presented to the Board. Defendant believed that the delay
on the DPSS Hawthorne Mall lease served as the catalyst for Gabaee
seeking influence and non-public County information about County
leases from defendant. Gabaee did not compensate defendant for
assistance and non-public County information at this time.

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In approximately 2010 or 2011, Gabaee eget giving cash payments
to defendant. Initially, the amounts were $5,000 per month for
approximately five to six months. After that point, to on or about
April 11, 2017, Gabaee gave defendant monthly cash payments of
approximately $1,000. .The relationship between defendant and Gabaee
changed shortly after defendant began accepting these monthly
payments in 2010 or 2011. Specifically, their relationship
transformed to an illegal business relationship, wherein defendant
would use his County position to provide assistance to Gabaee and
financially benefit Gabaee’s businesses in return for Gabaee’s
monthly payments.

The assistance that defendant provided to Gabaee in return for
the $1,000 monthly payments included the following: (a) defendant
providing non-public County information to Gabaee, including but not
limited to, information about the County’s leasing needs and
competing bids for leases Gabaee desired; (b) defendant giving added
attention to, and performing official acts for, Gabaee with regard to
Gabaee’s existing and potential leases with the County; and (c)
defendant resolving issues between Gabaee and various County
departments leasing space from Gabaee where issues have arisen within
the occupied properties and resolving those issues on terms that were
favorable to Gabaee.

For instance, on one occasion in 2011, defendant “ran.
interference” for Gabaee with regard to maintenance issues that had
arisen in properties Gabaee was leasing to the County. The County
departments leasing space in the properties owned by Gabaee were
upset with maintenance issues, such as broken elevators and roof
leaks. Gabaee relied heavily on defendant to address the issues with

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the departments by improperly deflecting blame away from Gabaee and
onto independent contractors, and by allowing Gabaee more time to
resolve issues.

In addition, prior to defendant’s cooperation with the FBI
(which began on or about December:16, 2016), Gabaee had offered to
buy a property in Northern California for defendant as a bribe. The
value of the properties Gabaee sought to purchase as a bribe for
defendant exceeded $1,000,000. In exchange for the Northern
California property bribe, Gabaee sought defendant’s assistance
securing a County lease for Gabaee, whereby DPSS would lease space in
the Hawthorne Mall, which Gabaee owned and was redeveloping.

The Electrical Contractor Bribery Scheme

In addition to bribes from Gabaee, defendant also accepted
bribes from an electrical contractor doing business with the County
(the “Electrical Contractor”). The Electrical Contractor made
payments to defendant in exchange for defendant providing non-public
County information to the Electrical Contractor and helping the
Electrical Contractor secure County contracts.

The illicit nature of their relationship began in approximately
August 2013 when the Electrical Contractor offered defendant $25,000
to $40,000 for information that would help the Electrical Contractor
win a bid to perform electrical work on a property leased by the
County. The Electrical Contractor’s work included wiring speakers
and installing alarms and security systems.

In exchange for the cash payments, defendant would obtain non-
public information from the County’s Internal Services Department
(“ISD”) about whether the County had received bids in response to a
County Request for Proposal (“RFP”). The RFP process was the means

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by which competing contractors submitted bids to the County to
perform work on County properties. Defendant would then disclose
that non-public information to the Electrical Contractor, and/or tell
the Electrical Contractor prior winning bids on similar projects, so
that the Electrical Contractor could submit a more competitive bid to
the County through the RFP process. Defendant did this to help the
Electrical Contractor obtain the County contract. In other
instances, when either there were no other qualifying bids submitted
or time constraints precluded a formal RFP, defendant would contact
ISD and use the influence of his County position to help the
Electrical Contractor obtain the County contract.

The Electrical Contractor always paid defendant in cash two to
three times per year, usually in an envelope containing $50 or $100
bills. From approximately 2013 through December 2016, the Electrical
Contractor gave defendant a total of $250,000 to $300,000 for
defendant’s assistance with five to seven County contracts ultimately

awarded to the Blectrical Contractor. Defendant did not report these

 

bribe payments as income or as anything else.

The Kickback Schemes

On several occasions, defendant arranged to receive improper
kickbacks from real estate commissions on properties leased by the
County. Defendant received Form 1099s for theses commissions, which
totaled approximately $59,200 for 2012, 2014 and 2016, and reported
it as income on his individual tax returns. .

In another instance, approximately in 2013, defendant arranged
with as associate of Gapasers to receive, and did receive, a real

estate commission kickback of $35,000, through a third party, for the

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County’s lease of a property on Missouri Avenue in West Los Angeles,
but did not pay income taxes on his receipt of these funds.

Other Unreported Income

Defendant gave some of the cash defendant received from the
Electrical Contractor to Individual A to store for him (defendant).
On one occasion, defendant gave Individual A approximately $150,000
to store. On another occasion, defendant gave Individual A
approximately $25,000 to $40,000 to store. Individual A eventually
used the funds to cash checks for the Electrical Contractor and gave
defendant $2,500 in interest. Defendant did not report the $2,500 as
income.

False Statements to Federal Agents

On or about November 21, 2016, FBI Special Agents interviewed
defendant at the United States Attorney’s Office in Los Angeles.
Defendant knowingly and willfully made materially false, fictitious,
and fraudulent statements and representations to the agents, which

included the following: (a) defendant denied that he received

 

anything of value from anyone doing business with the County; and (b)
defendant claimed that a $25,000 cashier’s check agents questioned
him about represented gambling proceeds that defendant had won in
prior years, and (c) claimed that unexplained deposits in his bank
accounts were gambling proceeds.

In truth, as detailed above, defendant did receive money and
other things of value from individuals doing business with the
County. Furthermore, the $25,000 cashier’s check actually
represented bribe proceeds from the Electrical Contractor that
Individual A had stored for defendant, and defendant did deposit cash
bribe payments from Gabaee and others into his bank accounts.

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Defendant made the aforementioned false statements to conceal
his illegal bribery schemes with Gabaee and others. Defendant’s
false statements were material, that is, they had a tendency to
influence the FBI’s investigation and affected the FBI’s ability to
properly investigate the illegal activity of defendant and others.

False Statements on Tax Return

On or about April 14, 2015, in Los Angeles County, within the
Central District of California, defendant willfully made and
subscribed to a materially false United States Individual Income Tax
Return, Form 1040, for the calendar year 2014, which defendant
verified by a written declaration that it was made under penalty of
perjury, and filed such tax return with the Internal Revenue Service,
which defendant did not believe to be true and correct as to every
material matter in that it failed to report the additional income for
2014 described herein. Specifically, the tax return reported total
income of $109,274 and failed to disclose additional income of
$139,400.

The false information provided by defendant was material in that
it affected the IRS’s calculation of the amount of income earned aud
prevented the IRS from verifying the accuracy of the amount of tax
claimed to be owed on defendant’s return. Defendant acted willfully.
Defendant knew that the law required him to report all income
accurately and to pay all income tax that was due and owing.
Defendant voluntarily and intentionally violated that duty.

Tax Due and Owing on Unreported Income

For calendar years 2010 to 2016, defendant failed to report a
total of $434,400 of income he received from the bribery and/or
kickback payments described above, which consists of the following

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amounts for the following years: $25,000 (2010); $12,000 (2011);
$12,000 (2012); $52,000 (2013); $139,400 (2014); and $102,000 (2015);
and $92,000 (2016). Defendant’s unreported income for 2014 included
approximately $102,000 in bribe payments.

Defendant’s underreporting of income resulted in lowering the
taxes reported as due and owing on his Form 1040 individual tax
returns. As a result of defendant’s conduct, defendant owes
additional taxes totaling $110,021 consisting of the following
amounts for the following tax years: $3,941 (2010); $1,625 (2011);
$3,325 (2012); $14,216 (2013); $38,972 (2014); $26,019 (2015); and
$21,923 (2016).

SENTENCING FACTORS

19. Defendant understands that in determining defendant’s
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the

Sentencing Guidelines are advisory only, that defendant cannot have

 

any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be'free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of
conviction.

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20. Defendant and the USAO agree to the following applicable
Sentencing Guidelines factors:
Count One (False Statements)

fase Offense. Level: | 6 [U.S.8.G. § 2Bl.1(a) (2)]

Count Two (Subscribing to False Tax Return)

Base Offense Level: 16 [U.S.S.G. § 2T1.1(a) (1)
[$110,021 Tax Loss] and § 2T4.1(F)]

Specific Offense

Characteristics: [Failure to

Report Income Over $10,000

from Criminal Activity] +2 [U.S.S.G. §2T1.1(b) (1) ]
Multi Count Adjustment: +0 [U.S.S.G. § 3Dl1.1,

 

3D1.3, 3D1.4]

Defendant and the USAO reserve the right to argue that additional
specific offense characteristics, adjustments, and departures under
the Sentencing Guidelines are appropriate.

21. Defendant understands that there is no agreement as to
defendant’s criminal history or criminal history category.

22. Defendant and the USAO reserve the right to argue fora
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a) (1),
(a) (2), (a) (3), (a) (6), and (a) (7).

WAIVER OF CONSTITUTIONAL RIGHTS

23. Defendant understands that by pleading guilty, defendant
gives up the following rights:

a. The right to persist in a plea of not guilty.

b. The right to a speedy and public trial by jury.

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Cs The right to be represented by counsel - and if
necessary have the court appoint counsel - at trial. Defendant
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint

counsel - at every other stage of the proceeding.

d. The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses
against defendant.

£0 The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify.

g- The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that

choice not be used against defendant.
ii. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.
“WAIVER OF APPEAL OF CONVICTION

24. Defendant understands that, with the exception of an appeal
based on a claim that defendant’s guilty plea was involuntary, by
pleading guilty defendant is waiving and giving up any right to
appeal defendant’s convictions on the offenses to which defendant is
pleading guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

25. Defendant agrees that, provided the Court imposes a total

term of imprisonment on all counts of conviction of no more than 33

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months, defendant gives up the right to appeal all of the following:
(a) the procedures and calculations used to determine and impose any
portion of the sentence; (ob) the term of imprisonment imposed by the
Court; (c) the fine imposed by the court, provided it is within the
statutory maximum; (d) the amount and terms of any restitution order,
provided it requires payment of no more than $110,021; (e) the term
of probation or supervised release imposed by the Court, provided it
is within the statutory maximum; and (f) any of the following
conditions of probation or supervised release imposed by the Court:
the conditions set forth in General Orders 318, 01-05, and/or 05-02
of this Court; the drug testing conditions mandated by 18 U.S.C.

§§ 3563(a) (5) and 3583(d).

26. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above and
(b) the Court imposes a term of imprisonment of no less than 27
months, the USAO gives up its right to appeal any portion of the
sentence, with the exception that the USAO reserves the right to
appeal the following: (a) the amount of restitution ordered if that
amount is less than $110,021.

RESULT OF WITHDRAWAL OF GUILTY PLEA

27. Defendant agrees that if, after entering guilty pleas
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant’s guilty pleas on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (1) the USAO will be relieved of all of its
obligations under this agreement; (2) in any investigation, criminal
prosecution, or civil, administrative, or regulatory action,
defendant agrees that any Cooperation Information and any evidence

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derived from any Cooperation Information shall be admissible against
defendant, and defendant will not assert, and hereby waives and gives
up, any claim under the United States Constitution, any statute, or
any federal rule, that any Cooperation Information or any evidence
derived from any Cooperation Information doula be suppressed or is
inadmissible; and (3) should the USAO choose to pursue any charge
that was either dismissed or not filed as a result of this agreement,
then (i) any applicable statute of limitations will be tolled between
the date of defendant’s signing of this agreement and the filing
commencing any such action; and (ii) defendant waives and gives up

all defenses based on the statute of limitations, any claim of pre-

 

indictment delay, or any speedy trial claim with respect to any such
action, except to the extent that such defenses existed as of the
date of defendant’s signing this agreement.
EFFECTIVE DATE OF AGREEMENT

28. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant’s counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

29. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant's counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant’s obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. For example, if defendant
knowingly, in an interview, before a grand jury, or at trial, falsely
accuses another person of criminal conduct or falsely minimizes
defendant’s own role, or the role of another, in criminal conduct,

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defendant will have breached this agreement. All of defendant’s
obligations are material, a single breach of this agreement is
sufficient for the USAO to declare a breach, and defendant shall not
be deemed to have cured a breach without the express agreement of the
USAO in writing. If the USAO Jemianes this agreement breached, and
the Court finds such a breach to have occurred, then:

a. If defendant has previously entered guilty pleas
pursuant to this agreement, defendant will not be able to withdraw
the guilty pleas.

b. The USAO will be relieved of all its obligations under
this agreement; in particular, the USAO: (i) will no longer be bound
by any agreements concerning sentencing and will be free to seek any
sentence up to the statutory maximum for the crimes to which
defendant has pleaded guilty; and (ii) will no longer be bound by any
agreement regarding the use of Cooperation Information and will be
free to use any Cooperation Information in any way in any
investigation, criminal prosecution, or civil, administrative, or
regulatory action.

Cc. The USAO will be free to criminally prosecute
defendant for false statement, obstruction of justice, and perjury
based on any knowingly false or misleading statement by defendant.

d. In any investigation, criminal prosecution, or civil,
administrative, or regulatory action: (i) defendant will not assert,
and hereby waives and gives up, any claim that any Cooperation
Information was obtained in violation of the Fifth Amendment
privilege against compelled self-incrimination; and (ii) defendant
agrees that any Cooperation Information and any Plea Information, as
well as any evidence derived from any Cooperation Information or any

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Plea Information, shall be admissible against defendant, and
defendant will not assert, and hereby waives and gives up, any claim
under the United States Constitution, any statute, Rule 410 of the
Federal Rules of Evidence, Rule 11(f): of the Federal Rules of
Criminal Procedure, or any other federal rule, that any Cooperation
Information, any Plea Information, or any evidence derived from any
Cooperation Information or any Plea Information should be suppressed
or is inadmissible.
COURT AND PROBATION OFFICE NOT PARTIES

30. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAO’s sentencing recommendations or the parties’
agreements to facts or sentencing factors.

31. Defendant understands that both defendant and the USAO are
free to (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, (b) correct any

and all factual misstatements relating to the Court’s Sentencing

 

Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court’s Sentencing
Guidelines calculations and the sentence it chooses to impose are not
error, although each party agrees to maintain its view that the
calculations in paragraph 20 are consistent with the facts of this
case. This paragraph permits both the USAO and defendant to submit
full and complete factual information to the United States Probation
Office and the Court, even if that factual information may be viewed

as inconsistent with the Factual Basis or Sentencing Factors agreed

 

to in this agreement.

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32. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,
withdraw defendant’s guilty pleas, and defendant will remain bound to
fulfill all defendant’s obligations under this agreement. Defendant
understands that no one — not the prosecutor, defendant’s attorney,
or the Court — can make a binding prediction or promise regarding the
sentence defendant will receive, except that it will be within the

statutory maximum.

NO ADDITIONAL AGREEMENTS

 

33. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the USAO
and defendant or defendant’s attorney, and that no additional
promise, understanding, or agreement may be entered into unless in a
writing signed by all parties or on the record in court.

PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

34. The parties agree that this agreement will be considered
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part of the record of defendant’s guilty plea hearing as if the
entire agreement had been read into the record of the proceeding.
AGREED AND ACCEPTED
UNITED STATES ATTORNEY'S OFFICE

FOR THE CENTRAL DISTRIC! OF
CALIFORNTA

NICOLA T. HANNA
United States a) |

RUTH C. PINKER ~~

Ayourst 2) Qo
D
Assistant United States Attorney ae

 

 

 

 

THOMAS SHEPOS UY Date
Defendant
a a oe .
aan Ce af Eee
JOEL C.° KOURY eee Date

Attorney for Defendant
THOMAS SHEPOS

CERTIFICATION OF DEFENDANT

I have read this agreement in its entirety. I have had enough
time to review and consider this agreement, and IT have carefully and
thoroughly discussed every part of it with my attorney. I understand
the terms of this agreement, and I voluntarily agree to those terms.
I have discussed the evidence with my attorney, and my attorney has
advised me of my rights, of possible pretrial motions that might be
filed, of possible defenses that might be asserted either prior to or
at trial, of the sentencing factors set forth in 18 U.S.C. § 3553 (a),
of relevant Sentencing Guidelines provisions, and of the consequences
of entering into this agreement. No promises, inducements, or
representations of any kind have been made to me other than those

contained in this agreement. No one has threatened or forced me in

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any way to enter into this agreement. I am satisfied with the
representation of my attorney in this matter, and I am pleading
guilty because I am guilty of the charges and wish to take advantage

of the promises set forth in this agreement, and not for any other

 

 

reason.

sZ Tha bag. — F-Z27- Zool
THOMAS SHEPOS v Date
Defendant

CERTIFICATION OF DEFENDANT‘’S ATTORNEY

I am defendant THOMAS SHEPOS’s attorney. I have carefully and
thoroughly discussed every part of this agreement with my client.
Further, I have fully advised my client of his rights, of possible
pretrial motions that might be filed, of possible defenses that might
be asserted either prior to or at trial, of the sentencing factors
set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To my knowledge: no promises, inducements, or representations of any
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client’s decision to enter into this
agreement is an informed and voluntary one; and the factual basis set
forth in this agreement is sufficient to support my client’s entry of

guilty pleas pursuant to this agreement.

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YORL Cc. KOURY Date
Attorney for Defendant
THOMAS SHEPOS

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CERTIFICATE OF SERVICE

I, Sandy Ear, declare:

That I am a citizen of the United States and a resident of or
employed in Los Angeles County, California; that my business address
is the Office of United States Attorney, 312 North Spring Street,
Los Angeles, California 90012; that I am over the age of 18; and
that I. am not a party to the above-titled action;

That I am employed by the United States Attorney for the
Central District of California, who is a member of the Bar of the

United States District Court for the Central District of California,

at whose direction the service by mail described in this Certificate

was made; that on September 5, 2018, I deposited in the United
States mail at the United States Courthouse in the above-titled
action, in an envelope bearing the requisite postage, a copy of:
Plea Agreement for defendant Thomas M. Shepos

service was:

[] Placed in a closed envelope Placed in a sealed envelope
for collection and inter- for collection and mailing via
office delivery, addressed as United States mail, addressed
follows: as follows:

C1 By hand delivery, addressed as UI By facsimile, as follows:
follows:

[] By messenger, as follows: [1] By Federal Express, as
follows:

Joel C. Koury
3435 Ocean Park Blvd., Suite 107-50
Santa Monica, CA 90405

at his last known address, at which place there is a delivery

service by United States mail.

 
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This Certificate is executed on September 5, 2018 , at Los
Angeles, California. I certify under penalty of perjury that the

foregoing is true and correct.

hand ear
SANDY HAR

Legal Assistant

 
